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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------X
 UNITED STATES OF AMERICA,

         -against-                                  MEMORANDUM AND ORDER

                                                    10-CR-627 (KAM)
 COURTNEY DUPREE, THOMAS FOLEY, AND
 RODNEY WATTS,

                     Defendants.
 -----------------------------------X

 MATSUMOTO, United States District Judge:

                                INTRODUCTION

             The government charges defendant Courtney Dupree

 (“Dupree”) with various counts of Bank Fraud, Making a False

 Statement, and Conspiracy to Commit Bank, Mail, and Wire Fraud.

 Presently before the court are certain of defendant Dupree‟s

 pretrial motions and motions in limine to preclude evidence at

 trial pursuant to the Federal Rules of Evidence.             For the

 following reasons, the court grants in part and denies in part

 Dupree‟s pretrial motions and denies Dupree‟s motions in limine.

                                 BACKGROUND1

             I.    The Charges Against Defendants

             Defendant Dupree is charged in all five counts of a

 five-count second superseding indictment, and Thomas Foley

 (“Foley”) is charged in three counts of the same indictment.
             1
                Familiarity with the facts and prior opinions of this court in
 this matter is presumed and only the background relevant to these motions is
 set forth below.


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 (See ECF No. 295, Superseding Indictment (“S-2 Indictment”).)                 A

 third co-defendant, Rodney Watts (“Watts”) (together with Dupree

 and Foley, “defendants”), is charged in four counts of the S-2

 Indictment, and his trial has been stayed pending a Second

 Circuit appeal.     (See Minute Entry dated October 17, 2011.)

             Count One charges all defendants with Conspiracy to

 Commit Bank, Mail, and Wire Fraud in violation of 18 U.S.C.

 §§ 1349, 3551 et seq.       (S-2 Indictment ¶¶ 18-19.)         Count Two

 charges all defendants with Bank Fraud in violation of 18 U.S.C.

 §§ 2, 1344, 3551 et seq.      (Id. ¶¶ 20-21.)       Count Three charges

 defendants Dupree and Watts with Making a False Statement on or

 about January 6, 2010 by “willfully overvalu[ing] property and

 security, for the purpose of influencing the action of

 Amalgamated Bank upon one or more loans” in violation of 18

 U.S.C. §§ 2, 1014, 3551 et seq.          (Id. ¶¶ 22-23.)     Count Four

 charges all defendants with Making a False Statement on or about

 May 24, 2010 in violation of 18 U.S.C. §§ 2, 1014, 3551 et seq.

 (Id. ¶¶ 24-25.)     Finally, Count Five charges only defendant

 Dupree with an additional count of Bank Fraud in violation of 18

 U.S.C. §§ 2, 1344, 3551 et seq.          (Id. ¶¶ 26-27.)

             The S-2 Indictment charges that Dupree was the

 president and chief executive officer of GDC Acquisitions, LLC

 (“GDC”) and that Foley was GDC‟s outside counsel and chief

 operating officer.     (Id. ¶¶ 2-3.)       Watts is charged as having

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 been GDC‟s chief financial officer and chief investment officer.

 (Id. ¶ 4.)    The first four counts arise out of an alleged scheme

 to defraud Amalgamated Bank (“Amalgamated”), a financial

 institution, and C3 Capital, LLC, a private equity investment

 firm, by obtaining, and attempting to obtain, loans for GDC and

 its subsidiaries on the basis of false financial statements and

 other material misrepresentations between January 2007 and July

 2010.   (Id. ¶¶ 5, 6, 8.)

             Count Five was originally added in a superseding

 indictment returned on March 25, 2011 (ECF No. 155, Superseding

 Indictment (“S-1 Indictment”)), which was again superseded on

 August 3, 2011.     Count Five of the S-2 Indictment charges only

 Dupree with an additional count of bank fraud for “knowingly and

 intentionally execut[ing] and attempt[ing] to execute a scheme

 and artifice to defraud Amalgamated Bank, and to obtain moneys,

 funds, credits and other property owned by, and under the custody

 and control of, Amalgamated Bank, by means of materially false

 and fraudulent pretenses, representations and promises” between

 August 4, 2010 and March 1, 2011.          (S-2 Indictment ¶ 27.)

             II.   The Instant Motions

             Dupree‟s pretrial motions consist of the following:

 (1) a motion to physically place Dupree and his counsel at a

 separate table than Foley and his counsel during trial; and (2) a

 motion to modify the order of defendants‟ presentations at trial,

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 allowing Dupree to make opening and closing statements, cross-

 examine witnesses, and present his defense after Foley.               In

 addition to these two pretrial motions, Dupree makes three

 motions in limine to preclude the government (1) from introducing

 into evidence financial documents without specifying the

 fraudulent content and line item amounts deemed false in each

 document, (2) from calling Irma Nusfaumer as a witness or using

 any information gained from her statements or documents at trial,

 and (3) from calling three fact witnesses added to the

 government‟s witness list on November 18, 2011, approximately two

 weeks prior to trial and a month after the court‟s October 24,

 2011 deadline for final witness lists.          Each of these motions

 will be discussed in turn.

                                  DISCUSSION

             I.    Motion to Physically Separate Defendants

             Dupree requests that he and Foley and their respective

 counsel sit at separate tables during trial.            (ECF No. 358-1,

 Dupree‟s Memorandum in Support of Motion in Limine for Physical

 Separation of Defendants at 1.)2          Dupree argues that because his

 and Foley‟s interests are “diametrically opposed,” they are

 entitled to separate tables and “any association with Foley, even

 sitting at the same table with him, will impair [Dupree‟s]


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                Although Dupree calls this motion a “motion in limine,” it is
 not a motion in limine because it does not seek a ruling on the admissibility
 of evidence.

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 ability to obtain a fair trial.”         (Id. at 2.)    Additionally,

 Dupree asserts that “[t]he jury will also be confused as to why

 two people, formerly associates, are now at odds with each other

 but yet sitting at the same defense table.”           (Id. at 3.)

             Foley did not file a response to this motion.             The

 government, however, opposes Dupree‟s motion.           (ECF No. 381,

 Response in Opposition to Motion in Limine to Physically Separate

 Defendants (“Opp‟n to Physical Separation”) at 1.)             First, the

 government asserts that it is a “universal practice in this

 district . . . to seat co-defendants at the same table unless the

 number of co-defendants is so large as to actually require

 additional tables.”     (Id.)    Second, the government maintains that

 the jury can be instructed to evaluate the evidence separately

 against each defendant, which would negate any potential jury

 confusion.    (Id. at 1-2.)     In support of its arguments, the

 government cites to Carter v. Gibson, 27 F. App‟x 934 (10th Cir.

 2001), a case in which a habeas petitioner claimed that a joint

 trial prejudiced him for several reasons, including that “co-

 defendants had to share the counsel table, thereby destroying

 confidentiality of legal consultation.”         Id. at 948.      In

 affirming the district court‟s denial of habeas relief on this

 ground, the Tenth Circuit noted that the “trial court denied a

 request for separate tables due to space concerns.”             Id. at 948

 n.6.

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             In his reply to the government‟s opposition, Dupree

 argues that Foley has “stated his intent to help the government

 prove his theory that Mr. Dupree masterminded a fraud against

 Amalgamated” and that “it will be impossible for counsel and Mr.

 Dupree to review documents, notes and have conversations at

 counsel table during the trial without a real concern that Foley

 or his counsel will be eavesdropping and use the information they

 overhear to their advantage.”       (ECF No. 399, Dupree‟s Reply in

 Support of Motion in Limine for Physical Separation of Defendants

 (“Dupree‟s Reply in Support of Physical Separation”) at 2.)

             Dupree, however, does not point to any case law in

 support of his argument that physical separation from Foley at

 separate tables is necessary to prevent jury confusion and to

 ensure that Foley will not overhear conversations between Dupree

 and his counsel.3     Indeed, the courtroom tables are sufficiently

 large for counsel and their clients to confer without being

 overheard.      Moreover, the courtroom itself cannot accommodate an

 additional table for the defendants, particularly given that both

 defendants are likely to require the use of computers, electronic

 exhibit monitors, and other electronic systems during trial and

             3
                The only support Dupree provides is an April 14, 1986 article
 from the New York Times discussing a racketeering trial in which twelve co-
 defendants were given separate tables in the courtroom. (See ECF. No. 358-2,
 Ex. A.) In its opposition, the government noted that those defendants likely
 were given separate tables because they could not fit at one table. (Opp‟n to
 Physical Separation at 2 n.1.) Certainly that is not a concern here where two
 defendants and their respective counsel can be accommodated at a single table
 in the courtroom with sufficient privacy for consultation with counsel.

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 an additional table would not be connected to such systems.               In

 addition, the court has been advised that additional funds to

 install separate electrical and data systems in the courtroom are

 not available in this two-defendant case.          Accordingly, the court

 will follow the customary practice of the Eastern District of New

 York and require the defendants to sit at the same table with

 their respective counsel.

             To address Dupree‟s concern regarding jury confusion,

 the court will issue an instruction directing the jury to

 evaluate the evidence separately against each defendant and that

 no inferences are to be drawn by defendants‟ physical placement

 at the same table.     Beyond such an instruction, the court finds

 that defendants‟ sharing of a table at trial will not violate

 Dupree‟s right to a fair trial.

             II.   Motion to Modify the Order of Dupree’s and Foley’s
                   Presentations at Trial

             Dupree moves to modify the order of defendants‟

 presentations at trial.      Generally, any defendant who may wish to

 present witnesses or evidence at trial would proceed in the order

 set forth in the S-2 Indictment, such that following the

 government‟s case-in-chief, Dupree would present his evidence

 followed by Foley.     Dupree requests that his presentation to the

 jury follow, rather than directly precede, Foley‟s presentation.

 (ECF No. 389, Dupree‟s Letter Motion to Amend/Correct/Modify


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 Order of Defendants at Trial at 1.)        Dupree argues that, because

 Foley has “repeatedly stated that he intends to aid the

 prosecution in proving its case” against Dupree, allowing Foley

 to present his case after Dupree would cause Dupree to “face[]

 what essentially amounts to a double prosecution” as Dupree would

 be “sandwiched” between the government‟s accusations and similar

 accusations by Foley.       (Id.)   Furthermore, Dupree argues that

 “[t]he current order of the defendants clearly prevents [him]

 from being able to effectively defend himself at trial because he

 will be unable to respond to or follow up on the statements and

 questions of [Foley].”      (Id. at 2.)

             In opposition to Dupree‟s motion, Foley contends that

 the court denied his motion for severance because “the Foley

 cross-claim does not amount to prejudice,” and that it follows

 from that ruling that the current order of defendants‟

 presentations is also not prejudicial.         (ECF No. 418, Foley‟s

 Letter Opposing Motion to Change Order for Co-Defendants at 1.)

 In addition, Foley claims that he will be prejudiced by changing

 the order because “the lion‟s share of the prosecution‟s

 evidence[] will focus on the lead defendant Dupree.”             (Id.)

 Finally, Foley asserts that Dupree‟s argument that he will be

 unable to anticipate and respond to Foley‟s presentation is

 unconvincing because Foley has continued to put forth the same

 argument throughout pretrial proceedings.          (Id.)

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             Dupree‟s arguments regarding a departure from the

 ordinary order of defendants‟ presentations, if any, are

 persuasive.    Indeed, it is evident from pretrial proceedings and

 Foley‟s own statements that he intends, as co-defendants

 frequently do, to claim at trial that he was unaware of the

 charged frauds and the conspiracy to defraud:

       Mr. Foley does not contest that there existed a
       conspiracy to defraud the Amalgamated Bank; he only
       contests that he was a knowing participant in the
       scheme. The Foley defense intends to prove that he was
       not a participant, and that co-defendants Dupree and
       Watts, together with their accomplices – including
       Frank Patello and Emilio Serrano – concealed the scheme
       from Mr. Foley for fear that disclosure would end it
       and subject them to exposure.


 (ECF No. 135, Joseph W. Ryan, Jr. Affirmation in Support of

 Motion for Severance ¶¶ 2-3 (emphasis in original).)             Although

 Dupree may argue at trial that Foley as counsel to GDC committed

 malpractice in failing to advise him that GDC‟s purchase of Image

 Lighting, Inc. was contrary to the terms of the loan agreement

 with Amalgamated (see S-2 Indictment ¶ 15), Dupree has never

 acknowledged that there was a conspiracy to defraud and has never

 implicated Foley in the conspiracy, which is precisely what Foley

 intends to do with respect to Dupree.         (See Dupree‟s Reply in

 Support of Physical Separation at 2 (“Mr. Dupree does not accuse

 Foley of any wrongdoing.”).)




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            While neither Dupree nor Foley has cited case law to

 support their respective positions, in the interest of fairness

 and justice, the court will exercise its discretion to permit

 Dupree to make opening and closing statements, cross-examine

 witnesses, and present his defense after Foley.              See United

 States v. Quattrone, 441 F.3d 153, 183 (2d Cir. 2006) (“Trial

 judges . . . are given discretion to manage trials so that

 evidence is effectively presented . . . .” (citing Fed. R. Evid.

 611(a))); United States v. Donovan, 55 Fed. App‟x 16, 19 (2d Cir.

 2003) (“District judges have wide discretion to manage the

 conduct of trials before them.” (citing United States v. Carson,

 52 F.3d 1173, 1188 (2d Cir. 1995))).         The court will instruct the

 jury that the burden of proof remains on the government, that

 defendants have no obligation to present evidence, and that no

 inferences are to be drawn with respect to the order of

 defendants‟ presentations, if any.

            III. Motion to Limit the Government’s Evidence

            Dupree claims that the government has not provided him

 with adequate information concerning financial documents that it

 will introduce at trial, which is impairing his ability to

 effectively defend himself, thus, in effect, seeking another bill

 of particulars.    (ECF No. 360-1, Memorandum in Support of Motion

 in Limine to Limit the Government‟s Evidence (“Mot. to Limit

 Evidence”) at 1.)     In particular, Dupree requests “specific

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 information as to the particular line items and invoices, by

 bates number, that [the government] believes were falsified . . .

 .”   (Id. at 8-9.)    For example, if the government will claim at

 trial that the accounts receivable reported in a particular

 Borrowing Base Certificate (“BBC”) is false, Dupree requests an

 order requiring the government to identify which invoices used to

 calculate the accounts receivable for that BBC, and which line

 items on those invoices, are false.          (See id. at 6-7.)       If such

 information is not provided with respect to a particular

 financial report, such as a BBC, Dupree moves to preclude the

 government from introducing that financial report at trial and

 claiming its falsity.       (Id. at 8-9.)4

            In opposition, the government contends that Dupree‟s

 “renewed demand for granular detail of the government‟s proof is

 unfounded in law and impractical.”          (ECF No. 380, Response in

 Opposition to Second Motion in Limine to Limit Government‟s

 Evidence (“Opp‟n to Limit Evidence”) at 1.)            The government

 summarized all of the information it provided to defendants prior



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                Dupree also repeatedly complains that the government failed to
 produce documents referenced in or attached to certain Jencks statements,
 particularly the statements of Frank Patello. (See, e.g., Mot. to Limit
 Evidence at 6-7.) On October 31, 2011, the court ordered the government to
 produce documents that were discussed by Frank Patello and attached to his
 Jencks statements. (See Minute Entry dated October 31, 2011.) On November 1,
 2011, the government certified its compliance with the court‟s October 31,
 2011 Order by producing the documents to defendants and confirming that all
 such statements had been previously produced. (See ECF No. 423, Government‟s
 Letter in Response to Court‟s Order of October 31, 2011.)


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 to May 21, 20115  more than six months ago  and asserts that

 the defendants have received an “extraordinary amount of

 information and direction regarding the nature of the evidence.”

 (Id. at 3.)    Finally, the government argues that it has “gone far

 beyond its legal obligations in identifying particular invoices

 that are false,” and that there is no basis in law to “restrict

 the government‟s evidence to only a select group of invoices or

 line items that have been specifically identified.”             (Id. at 4-

 5.)

            Dupree filed a reply to the government‟s opposition,

 which largely re-asserted the arguments in his moving papers.

 (See ECF No. 400, Reply in Support of Defendant‟s Motion to Limit

 Financial Evidence (“Reply to Mot. to Limit Evidence”).)              In his

 reply, Dupree acknowledged that “this Court has only been given a

 small glimpse of the evidence in the instant case” and requests

 that the court reserve decision on this motion until the

 government introduces a piece of financial data that Dupree has

 not seen and to which he objects so that the court “could make an


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                This information includes, inter alia, “statements pursuant to
 18 U.S.C. § 3500, including numerous detailed interviews with the defendants‟
 co-conspirators about the fraud they perpetrated with the defendants;
 transcripts of the recordings; a witness list; an exhibit list that
 specifically identified documents by Bates number; and certifications by
 customers stating that they never actually received particular invoices with
 particular dates and dollar amounts (thus making those invoices false when
 they appeared on aging reports or were incorporated into Borrowing Base
 Certificates or financial statements).” (Opp‟n to Limit Evidence at 1.) The
 court also refers to its Memorandum and Order dated December 30, 2010, which
 outlines the extensive history of discovery in this case. (ECF No. 84,
 Memorandum & Order (the “December 30, 2010 Order”) at 5-7, 10-14.)

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 informed decision as to whether the government should have given

 Mr. Dupree the specific financial information he requested prior

 to trial . . . .”     (Id. at 7.)

            The court has considered all of the parties‟

 submissions and denies Dupree‟s motion at this time.              Although

 Dupree contends that his motion is not an attempt to renew his

 previous request for a bill of particulars (id. at 1), the court

 agrees with the government that it has already considered and

 denied Dupree‟s request for additional information in its

 December 30, 2010 Order.

            “The decision of whether or not to grant a bill of

 particulars rests within the sound discretion of the district

 court.”   United States v. Bortnovsky, 820 F.2d 572, 574 (2d Cir.

 1987) (citation omitted).      A defendant may request a bill of

 particulars “to identify with sufficient particularity the nature

 of the charge pending against him, thereby enabling defendant to

 prepare for trial, to prevent surprise, and to interpose a plea

 of double jeopardy should he be prosecuted a second time for the

 same offense.”    Id. (citations omitted).        “Generally, if the

 information sought by defendant is provided in the indictment or

 in some acceptable alternate form, no bill of particulars is

 required.”    Id. (citations omitted); see also United States v.

 Walsh, 194 F.3d 37, 47 (2d Cir. 1999) (stating that a “bill of

 particulars is not necessary where the government has made

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 sufficient disclosures concerning its evidence and witnesses by

 other means” including discovery, which “adequately

 differentiated the charges” and prevented surprise at trial

 (citations omitted)).

            In assessing whether a bill of particulars is

 warranted, the proper inquiry is not whether the requested

 information would be helpful to the defense, but rather whether

 the information is necessary to the defense.           See United States

 v. Torres, 901 F.2d 205, 234 (2d Cir. 1990); see also United

 States v. Feola, 651 F. Supp. 1068, 1132 (S.D.N.Y. 1987) (“As a

 general rule, the defendant does not „need‟ detailed evidence

 about the conspiracy in order to prepare for trial properly.               It

 is well settled that defendants need not know the means by which

 it is claimed they performed acts in furtherance of the

 conspiracy nor the evidence which the Government intends to

 adduce to prove their criminal acts.” (citations omitted)).               In

 conducting this inquiry, the trial court “must examine the

 totality of the information available to the defendant, including

 the indictment and general pre-trial discovery . . . .”              United

 States v. Solomonyan, 452 F. Supp. 2d 334, 349 (S.D.N.Y. 2006)

 (citation omitted).     “So long as the defendant was adequately

 informed of the charges against him and was not unfairly

 surprised at trial as a consequence of the denial of the bill of



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 particulars, the trial court has not abused its discretion.”

 Torres, 901 F.2d at 234 (citation and quotation marks omitted).

            In his original demand for a bill of particulars filed

 on November 29, 2010, Dupree requested, inter alia, that the

 government specify, by Bates numbers, (1) the consolidated

 financial statements and BBCs alleged to be false, (2) the

 entries alleged to be false, and (3) the alleged “fictitious,”

 “prematurely recognized,” and “re-aged” sales and “improperly

 booked” cash by date, amount, customer, invoice number, and line

 item.   (See ECF No. 70, Notice of Motion for Bill of Particulars

 and Discovery ¶ 1.)     In that same motion, like here, Dupree

 complained of “mountains of documents” and argued that “it would

 impermissibly shift the burden to defendants to needlessly waste

 scant resources on the bootless effort of trying to ascertain

 what transactions make up the portion of the accounts receivable

 that are allegedly overstated.”       (ECF No. 70-8, Memorandum of Law

 in Support of Defendants‟ Motion for Bill of Particulars and

 Discovery at 9.)

            Dupree again relies on the same Second Circuit case

 that he cited in his previous motion, United States v.

 Bortnovsky, 820 F.2d 572 (2d Cir. 1987), which remains unavailing

 of his position.    (See Reply to Mot. to Limit Evidence at 4-6.)

 In that case, the defendants were charged with engaging in a

 scheme to defraud through the submission of, inter alia, false

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 insurance claims for burglary losses.          Bortnovsky, 820 F.2d at

 573-74.   Although the government allowed defendants to inspect

 and copy approximately 4,000 documents, the indictment did not

 specify the dates of the staged burglaries or enumerate which of

 numerous documents were falsified.           Id. at 574.      The district

 court denied defendants‟ request for a bill of particulars

 identifying the fraudulent documents and burglaries, and the

 Second Circuit reversed defendants‟ convictions finding that the

 defendants were “hindered in preparing their defense by the

 district court‟s failure to compel the Government to reveal

 crucial information:        the dates of the fake burglaries and the

 identity of the three fraudulent documents.”            Id. (emphasis

 added).

            In the Bortnovsky case, unlike here, there were only a

 few fraudulent documents, “[t]he relevance of key events was

 shrouded in mystery at the commencement of and throughout the

 trial,” and the defendants “were left unguided as to which

 documents would be proven falsified or which of some fifteen

 burglaries would be demonstrated to be staged.”               Id. at 574-75.

 At trial, the defendants in Bortnovsky were “forced to explain

 the events surrounding eight actual burglaries and to confront

 numerous documents unrelated to the charges pending,” which the

 Second Circuit found impermissibly shifted the burden of proof to

 defendants to establish that certain burglaries actually

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 occurred.       Id.   Finally, one of the defense counsel in Bortnovsky

 only had four days to prepare a defense, which made him

 “particularly susceptible to being waylaid” by the government‟s

 “furtive[]” tactics.        Id. at 575.

             In this case, the Indictment states that the defendants

 overstated the accounts receivable on consolidated financial

 statements and BBCs submitted to Amalgamated between January 2007

 and July 2010.        (See S-2 Indictment ¶¶ 8, 14.)6         In addition, the

 Indictment specifies four means by which the accounts receivable

 were falsified.        (See id. at ¶ 14.)    Moreover, the defendants

 here are not searching for only a few allegedly false documents

 among the thousands produced like in Bortnovsky; rather, the

 government alleges that defendants committed a “large, multi-year

 fraud that permeated and sustained their entire business.”

 (Opp‟n to Limit Evidence at 5.)        Indeed, the government has

 previously stated that it believes all of the accounts receivable

 figures on all financial statements, BBCs, and aging reports

 submitted to Amalgamated and C3 Capital during the charged period

 of the conspiracy are false.        (See December 30, 2010 Order at

 11.)   The government has been producing documents detailing the

 allegedly overstated accounts receivable since the day defendants

 were indicted more than a year ago (see Opp‟n to Limit Evidence


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                The Indictment also charges that defendants submitted false
 financial statements and accounts receivable aging reports to C3 Capital
 between October 2008 and October 2009. (S-2 Indictment ¶ 16).

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 at 3), and Dupree has had ample time to review what he described

 as “mountains of documents” provided by the government in order

 to conduct his own investigation, thereby precluding any claim of

 surprise.7

              In contrast to Bortnovsky, this case is similar to

 United States v. Viertel, No. S2 01 Cr. 571 (JGK), 2002 U.S.

 Dist. LEXIS 12833 (S.D.N.Y. July 9, 2002).           In that case, which

 also involved a conspiracy to defraud, the court denied a

 defendant‟s request for a bill of particulars identifying dates,

 amounts, and invoices because:       (1) the indictment “is adequately

 detailed and straightforward, and outlines with specificity the

 kinds of fraudulent invoices that [defendants] allegedly

 conspired to create and the means and methods of the conspiracy”;

 (2) the “government has also already produced discovery,

 including invoices . . . and several thousand pages of bank

 records from [defendants‟] bank accounts, and [defendant] has

 been given ample time to review that discovery”; (3) “the

 Government contends that none of the charges submitted during the

 period of the scheme charged in the Indictment . . . were

 legitimate”; and (4) “to the extent that [defendant] seeks lists

              7
                On November 21, 2010, more than a year ago, the government
 filed a letter to help focus defendants‟ review of the discovery produced by
 the government. (See ECF. No. 68, Government‟s Letter Describing Connections
 between the Indictment and the Previously Produced Discovery.) This letter
 identified, by Bates numbers, particular documents with misstatements
 mentioned in the Indictment and spreadsheets that made detailed comparisons
 for some of GDC‟s subsidiaries between internal numbers and numbers reported
 externally. (Id.; see also Opp‟n to Limit Evidence at 3-4.)

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 of the specific invoices . . . , the motion is denied because the

 conspiracy charge and the other materials produced in this case

 adequately apprise [defendant] of the activities charged against

 him.”   Id. at *33-39; see also United States v. Qayyum, No. 97

 Cr. 1000 (AGS), 1998 U.S. Dist. LEXIS 4149, at *7-8 (S.D.N.Y.

 Apr. 1, 1998) (denying defendant‟s request for a bill of

 particulars “identifying which of the approximately 900

 pharmaceutical prescriptions turned over in discovery are alleged

 to be fraudulent and itemizing „the specific date, type and

 nature‟ of allegedly false statements” because (1) the indictment

 sets forth specific information concerning defendant‟s

 participation in a conspiracy to defraud Medicaid, the means by

 which the fraud was carried out, and several dates on which the

 defendant submitted false claims and received payments and (2)

 the government considers all 900 prescriptions to be false).

            Based on the specificity regarding the fraud charges

 contained in the S-2 Indictment and the government‟s productions

 to date  which encompassed an eight-page exhibit list with Bates

 numbers and the identification of particular invoice numbers,

 dates, and dollar amounts (see Opp‟n to Limit Evidence at 3-4) 

 the court finds, once again, that the government‟s disclosures

 have been sufficient to inform defendants of the charges against

 them, to enable them to prepare for trial, and to prevent



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 surprise.8       (See December 30, 2010 Order at 10-14); see also

 United States v. Kalish, 403 Fed. App‟x 541, 544 n.2 (2d Cir.

 2010) (“[T]he Government provided more than adequate details

 regarding the victims of the fraud and the nature of the proof it

 intended to offer at trial.       This satisfied the Government‟s

 obligation to inform [defendant] of the charges against him.”

 (citation omitted)); United States v. Glaze, 313 F.2d 757, 760-61

 (2d Cir. 1963) (finding no grounds for reversible error due to

 the government‟s insufficient particulars where defendant did not

 make a “sufficient showing of actual and substantial prejudice

 resulting from unfair surprise.”).           Furthermore, because of the

 absence of any authority in law to restrict the government‟s

 evidence to only those invoices or line items that have been

 specifically identified prior to trial, the court denies Dupree‟s

 motion.

              IV.    Preclusion of the Testimony of Irma Nusfaumer

              Dupree moves to preclude the testimony of the

 government‟s fact witness Irma Nusfaumer on the ground that he

 first received materials provided by Ms. Nusfaumer to the

 government on October 25, 2011, less than six weeks prior to


              8
                As the court previously stated in denying Dupree‟s initial
 motion, “[t]he burden on defendants is also lessened by the fact that the
 documents produced came from defendants‟ own business and computers and were
 organized according to the room from which the documents were seized.”
 (December 30, 2010 Order at 12 (citing United States v. Kaplan, No. 02 Cr. 883
 (DAB), 2003 U.S. Dist. LEXIS 21825, at *43 (S.D.N.Y. Dec. 5, 2003)).)


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 trial.    (ECF No. 424, Fourth Motion in Limine to Exclude

 Testimony of Irma Nusfaumer (“Mot. to Exclude Testimony”) at 1.)

 According to Dupree, Ms. Nusfaumer was the assistant controller

 of Hudson Bay Environments, LLC (“HBE”), which was subsequently

 acquired by GDC, and she has direct knowledge of the alleged

 conspiracy.    (Id.)   The materials that Ms. Nusfaumer supplied to

 the government consists of copies of her computer‟s hard drive at

 HBE and certain flash drives, copies of which she made prior to

 terminating her employment at HBE on April 23, 2010.              (Id. at 1-

 2.)   Dupree claims that it would be prejudicial to his case to

 allow Ms. Nusfaumer to testify because he would only have five

 weeks until the commencement of trial in a complex financial case

 to review what he estimates to be “70 million pages of

 documents.”    (Id. at 3-4.)    Notably, Dupree does not cite any

 case in support of his motion.

            The government submitted an opposition to Dupree‟s

 motion.    (ECF No. 428, Response in Opposition to Fourth Motion in

 Limine to Exclude Testimony of Irma Nusfaumer (“Response to

 Exclude Testimony”) at 1.)      First, the government argues that

 “the relief [Dupree] seeks is not warranted by the harm he has

 alleged” because the “logical remedy for allegedly untimely

 production of materials on a hard drive would be to preclude

 admission of evidence on the hard drive, not all testimony by the

 witness who provided the government with the hard drive.”               (Id.

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 at 1 (emphasis in original)).       Second, the government asserts

 that Dupree has already had a thorough preview of Ms. Nusfaumer‟s

 testimony and that none of the exhibits on the government‟s

 current exhibit list are from Ms. Nusfaumer‟s hard drive or flash

 drives.   (Id.)   Finally, the government argues that Dupree‟s

 estimation of the size of the documents on the Nusfaumer drives

 is speculative and that five weeks is a sufficient length of time

 to review the evidence.      (Id. at 3.)

             The court finds the government‟s arguments to be

 persuasive.    Although Dupree correctly notes that Federal Rule of

 Criminal Procedure 16 requires the government to permit

 defendants to inspect any item in its possession that is

 “material to preparing the defense,” Fed. R. Crim. Proc.

 16(a)(1)(E)(i), Rule 16 does not automatically provide for the

 type of relief that Dupree seeks – exclusion of the entire

 testimony of a witness.      Rather, Rule 16 provides that, if a

 party fails to comply with its discovery obligations under the

 rule, the court may grant a continuance, prohibit that party from

 introducing the undisclosed evidence, or enter any other order

 that is just under the circumstances.         Fed. R. Crim. Proc.

 16(d)(2).   “When the government has failed to comply with Rule

 16, the district court has broad discretion to determine what

 remedial action, if any, is appropriate.”          United States v.

 Miller, 116 F.3d 641, 681 (2d Cir. 1997) (citing Fed. R. Crim.

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 Proc. 16(d)(2)).     The court, however does not find that the

 extreme remedy of witness preclusion is appropriate here,

 especially where Dupree has not made any specific showing of

 prejudice.

            The only prejudice that Dupree alludes to in his

 submission is that the volume of data contained in the Nusfaumer

 hard drive “is so large that [he] is unable to review the data

 and participate in his own defense.”         (Mot. to Exclude Testimony

 at 4.)   In the fall of 2010, however, the government did provide

 Dupree with a copy of Ms. Nusfaumer‟s hard drive that was seized

 during the government‟s search of GDC‟s offices on July 23, 2010.

 (Id. at 5.)    Although this hard drive may not be the same copy

 that Ms. Nusfaumer made in April 2010 three months before the

 search and which she provided to the government, a forensic

 examination of the two drives should reveal what documents, if

 any, were deleted prior to the government‟s seizure of the hard

 drive in July 2010.     Even if there were documents deleted from

 the Nusfaumer hard drive that remained at the GDC offices between

 April and July 2010, the government logically asserts that such

 documents would more likely have been deleted in an effort to

 conceal the conspiracy from law enforcement, and therefore likely

 would not aid Dupree in his defense.         (See Response to Exclude

 Testimony at 2-3.)     In addition, as early as May 20, 2011, the

 government supplied Dupree with several statements of Ms.

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 Nusfaumer pursuant to 18 U.S.C. § 3500, which provide a detailed

 preview of her expected testimony, and the government is not

 planning to offer any of the documents from the Nusfaumer hard

 drive or flash drives as exhibits in its case-in-chief.              (Id. at

 1.)   Finally, because the data provided by Ms. Nusfaumer first

 had to be reviewed by the government‟s privilege taint team and

 was not disclosed to the prosecution team until November 21, 2011

 (id. at 3; see ECF No. 437, Letter from Michael Warren), Dupree

 has actually had more time than the government – by almost a

 month – to review Ms. Nusfaumer‟s materials.

            On November 14, 2011, the government asked the court to

 adjourn the trial currently scheduled to start on December 5,

 2011 until January or February of 2012.          (See ECF No. 438,

 Government‟s Letter Requesting Adjournment.)           Dupree “strenuously

 oppose[d]” the government‟s request for an adjournment and did

 not mention any issues relating to his review of Ms. Nusfaumer‟s

 materials, which suggests that he was not confronting any such

 issues.   (See ECF No. 440, Dupree‟s Letter Opposing Government‟s

 Request for Adjournment.)      Without a specific showing of

 prejudice to Dupree as a result of the October 25, 2011

 production of Ms. Nusfaumer‟s hard drive and flash drives (i.e.

 the actual volume of additional documents that Dupree must




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 review9, their relevance to the case, and how their use or non-

 use will prejudice Dupree), the court must, and does, deny

 Dupree‟s motion to exclude Ms. Nusfaumer‟s testimony.

            V.     Preclusion of Three Witnesses Added to the
                   Government’s Witness List Two Weeks Prior to Trial
                   and After the Court’s Deadline for Final Witness
                   Lists

            On November 18, 2011, the government notified

 defendants that it was adding three witnesses10 to its witness

 list and provided defendants with statements of those witnesses

 pursuant to 18 U.S.C. § 3500 and additional Rule 16 discovery

 materials.      (See ECF No. 442, Letter Providing Additional

 Discovery and 3500 Material at 1.)11        Three days later, on

 November 21, 2011, Dupree filed a motion to preclude (1) the

 three witnesses from testifying at trial and (2) the government

 from using any information gleaned from the § 3500 and Rule 16


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                After its review of Ms. Nusfaumer‟s hard drive and flash
 drives, the government‟s privilege taint team identified 174 pages of
 nonprivileged documents that would be disclosed to the prosecution team on
 November 21, 2011 absent any objections from the defendants. (See ECF No.
 437, Letter from Michael Warren.) Unless a vast majority of the documents on
 Ms. Nusfaumer‟s drives were privileged, Dupree‟s claim that he has to review
 70 million pages of additional documents is vastly exaggerated. Moreover, the
 government clarified that the estimated size of the hard drive included empty
 space. (Response to Exclude Testimony at 3.)
            10
                The three witnesses are (1) Paul Rome, a consultant hired by
 Amalgamated as early as August 2010, (2) Jay Stephan, an employee of
 Steelcase, the office furniture company that served as a supplier to HBE, and
 (3) Dora Yim, an auditor with J.H. Cohn, which was hired by Amalgamated in the
 spring of 2010 to perform an audit. (ECF No. 443, Dupree‟s Letter Motion to
 Exclude Government Witnesses and Discovery (“Mot. to Exclude Witnesses”) at 2
 n.2.)
            11
                Because the government should have sought leave from the court
 to amend its final witness list, the court will treat the government‟s
 November 18, 2011 letter as a motion to amend its final witness list.

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 materials produced.     (Mot. to Exclude Witnesses at 1.)            Dupree

 argues that total exclusion of witness testimony and information

 gleaned from § 3500 and Rule 16 disclosures is an “appropriate

 remedy given the government‟s extraordinarily late disclosure,

 its failure to request leave to amend its final witness list, and

 the resulting prejudice to Mr. Dupree.”          (Id.)       In response,

 citing Supreme Court and Second Circuit cases, the government

 asserts that it has “no general duty to disclose the identities

 of witnesses before trial under either the Constitution or

 Federal Rule of Criminal Procedure 16” and that there is no basis

 for Dupree‟s claim of prejudice.         (ECF No. 446, Response in

 Opposition to Letter Motion to Exclude Government Witnesses and

 Discovery at 1-2.)

            The court ordered the parties to provide a final list

 of witnesses by October 24, 2011, exactly six weeks prior to

 trial.   (See ECF No. 331, Third Amended Criminal Pretrial

 Scheduling Order ¶ 3(b)(ii)(A).)         On that date, the government

 produced a list of 40 witnesses (see ECF No. 404, Witness List),

 36 of which were disclosed more than six months ago in a

 previously submitted witness list filed on May 20, 2011.               (See

 ECF No. 229, Witness List.)      The court acknowledges that, despite

 its discretionary order, the government was not required by rule,

 statute, or case law to make these pretrial disclosures.               See

 United States v. Bejasa, 904 F.2d 137, 139 (2d Cir. 1990) (“Fed.

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 R. Crim. P. 16 does not require the Government to furnish the

 names and addresses of its witnesses in general.”); Mendez v.

 United States, 379 F. Supp. 2d 589, 598 (S.D.N.Y. 2005) (“[T]he

 government is not required to provide the defense with a list of

 witnesses and § 3500 material prior to trial.”); United States v.

 Morales, No. 93 Cr. 291 (KC), 1993 U.S. Dist. LEXIS 15889, at *36

 (S.D.N.Y. Nov. 8, 1993) (“While the Court has the discretion to

 compel pre-trial disclosure of the Government‟s witnesses in

 certain circumstances, Fed. R. Crim. P. 16 does not require the

 Government to turn over this information in general.” (citation

 omitted)); see also United States v. Yarborough, No. 06-CR-

 190(A), 2007 U.S. Dist. LEXIS 23198, at *54 (W.D.N.Y. Mar. 28,

 2007) (“Neither Fed. R. Crim. P. 16(a) nor the Jencks Act

 authorizes a court to compel pre-trial disclosure of statements

 made by codefendants and coconspirators whom the government

 intends to call as witnesses at trial.” (citations omitted)).

            Nevertheless, given the complexity of this case, the

 court ordered these disclosures to assist defendants with

 preparing for trial and the government complied in good faith

 without objecting.     It would be an unfair, inappropriate, and

 legally unjustified result to penalize the government for adding

 three witnesses two weeks prior to trial when the government

 exceeded its legal obligations in disclosing 40 witnesses more

 than a month ago to assist the defense and prevent surprise.

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 Accordingly, without a specific showing of prejudice to Dupree,

 which is absent from his moving papers, Dupree‟s motion to

 preclude the testimony of the three witnesses is denied and the

 court grants the government‟s motion to amend its final witness

 list.   See Mendez, 379 F. Supp. 2d at 598 (denying a habeas

 petitioner‟s claim of prosecutorial misconduct where defendant

 “failed to show that untimely disclosure of additional witnesses

 materially impacted his counsel‟s preparation for trial or denied

 him a fair trial.”).        For the same reason, the court also denies

 Dupree‟s motion to preclude the government from using any

 information learned from the § 3500 and Rule 16 material produced

 on November 18, 2011.       See United States v. Adeniji, 31 F.3d 58,

 64 (2d Cir. 1994) (“Assuming a violation of Rule 16 [for untimely

 disclosure by the government], reversal will only be warranted if

 the nondisclosure results in substantial prejudice to the

 defendant.    By substantial prejudice, we mean . . . the defendant

 must demonstrate that the untimely disclosure of the statement

 adversely affected some aspect of his trial strategy.”

 (citations and quotation marks omitted)).

                                  CONCLUSION

            For the reasons set forth above, the court grants in

 part and denies in part defendant Dupree‟s pretrial motions and

 denies Dupree‟s motions in limine:           (1) the motion to physically

 separate Dupree and Foley and their respective counsel at

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 different tables during trial is denied; (2) the motion to modify

 the order of defendants‟ presentations at trial is granted, and

 Dupree will be permitted to make opening and closing statements,

 cross-examine witnesses, and present his defense after Foley; (3)

 the motion to preclude the government from introducing into

 evidence financial documents without specifying the fraudulent

 content and line item amounts deemed false in each document is

 denied; (4) the motion to preclude the testimony of Irma

 Nusfaumer or the use of any information gained from her

 statements or documents at trial is denied; and (5) the motion to

 preclude three additional government witnesses disclosed on

 November 18, 2011 from testifying at trial and the use of any

 information gleaned from the 18 U.S.C. § 3500 and Rule 16

 materials produced on the same day is denied.

 SO ORDERED.

 Dated: November 28, 2011
        Brooklyn, New York

                                          __________/s/_______
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York




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